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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                 1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-11161 (JKS)
                                                 Debtors.
                                                                  (Jointly Administered)


                                  SUPPLEMENTAL AFFIDAVIT OF SERVICE

        I, Monica Arellano, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

        On December 28, 2023, at my direction and under my supervision, employees of Stretto
caused the following documents to be served via first-class mail on three (3) confidential parties
not included herein, pursuant to USPS forwarding instructions:

     •     Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
           Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
           Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
           and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
           a Combined Hearing for Final Approval of the Adequacy of Information in the
           Disclosure Statement and Confirmation of the Plan (Docket No. 265)

     •     Notice of Amendment to Confirmation Schedule (Docket No. 367)

        Furthermore, on December 28, 2023, at my direction and under my supervision, employees
of Stretto caused the following documents to be served via first-class mail on one (1) confidential
party not included herein, pursuant to USPS forwarding instructions:

     •     Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
           Affiliated Debtors (Docket No. 258)

     •     Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect
           to the Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and
           Its Affiliated Debtors (Docket No. 259)

     •     Order (I) Approving the Disclosure Statement on an Interim Basis for Solicitation
           Purposes Only; (II) Establishing Procedures for Solicitation and Tabulation of Votes
           to Accept or Reject the Plan; (III) Approving the Form of Ballot and Solicitation
           Packages; (IV) Establishing the Voting Record Date; (V) Scheduling a Combined
           Hearing for Final Approval of the Adequacy of Information in the Disclosure
           Statement and Confirmation of the Plan; and (VI) Granting Related Relief
           (Docket No. 264, pages 1-14)
______________________________________________
1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)

   •   [Customized for Class 3B] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit A)

   •   [Customized for Class 4] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit B)

        Furthermore, on December 28, 2023, at my direction and under my supervision, employees
of Stretto caused the following document to be served via first-class mail on one (1) confidential
party not included herein, pursuant to USPS forwarding instructions:

   •   Notice of Filing of Supplement to Disclosure Statement Pursuant to Section 1125 of
       the Bankruptcy Code with Respect to the Joint Chapter 11 Plan of Reorganization
       for Prime Core Technologies Inc. and Its Affiliated Debtors and Redline Thereof
       (Docket No. 487)

        Furthermore, on December 28, 2023, at my direction and under my supervision, employees
of Stretto caused the following document to be served via first-class mail on one (1) confidential
party not included herein, pursuant to USPS forwarding instructions:

   •   Notice of Filing of Third Amended Plan Supplement with Respect to Debtors’
       Amended Joint Chapter 11 Plan of Reorganization Under Chapter 11 of the
       Bankruptcy Code (Docket No. 595)

        Furthermore, on January 2, 2024, Stretto in accordance with USPS forwarding instructions
served the following document via first-class mail on one (1) confidential party not included
herein:

   •   Notice of Filing of Supplement to Disclosure Statement Pursuant to Section 1125 of
       the Bankruptcy Code with Respect to the Joint Chapter 11 Plan of Reorganization
       for Prime Core Technologies Inc. and Its Affiliated Debtors and Redline Thereof
       (Docket No. 487)

        Furthermore, on January 2, 2024, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on Stably Corporation,
Attn: Kory Hoang at PO Box 2739, Renton, WA 98056-0739, pursuant to USPS forwarding
instructions:
    • Second Omnibus Order (A) Authorizing the Debtors to Reject Certain Executory
        Contracts, Effective as of November 15, 2023, and (B) Granting Related Relief
        (Docket No. 601)
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       Furthermore, on or before January 3, 2024, at my direction and under my supervision,
employees of Stretto caused the following documents to be served via first-class mail on five (5)
confidential parties not included herein, pursuant to USPS forwarding instructions:

   •   Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and Its
       Affiliated Debtors (Docket No. 258)

   •   Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code with Respect
       to the Joint Chapter 11 Plan of Reorganization for Prime Core Technologies Inc. and
       Its Affiliated Debtors (Docket No. 259)

   •   Order (I) Approving the Disclosure Statement on an Interim Basis for Solicitation
       Purposes Only; (II) Establishing Procedures for Solicitation and Tabulation of Votes
       to Accept or Reject the Plan; (III) Approving the Form of Ballot and Solicitation
       Packages; (IV) Establishing the Voting Record Date; (V) Scheduling a Combined
       Hearing for Final Approval of the Adequacy of Information in the Disclosure
       Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 264, pages 1-14)

   •   Notice of Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan (Docket No. 265)

   •   Amendment to Order (I) Approving the Disclosure Statement on an Interim Basis for
       Solicitation Purposes Only; (II) Establishing Procedures for Solicitation and
       Tabulation of Votes to Accept or Reject the Plan; (III) Approving the Form of Ballot
       and Solicitation Packages; (IV) Establishing the Voting Record Date; (V) Scheduling
       a Combined Hearing for Final Approval of the Adequacy of Information in the
       Disclosure Statement and Confirmation of the Plan; and (VI) Granting Related Relief
       (Docket No. 362)

   •   Notice of Amendment to Confirmation Schedule (Docket No. 367)

   •   [Customized for Class 3B] Ballot to Accept or Reject the Debtors’ Chapter 11 Plan
       (attached hereto as Exhibit A)




                      [THIS SPACE INTENTIONALLY LEFT BLANK]
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                    Exhibit A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 Prime Core Technologies Inc., et al., 1                   Case No. 23-11161 (JKS)

                                     Debtors.              (Jointly Administered)


            BALLOT TO ACCEPT OR REJECT THE DEBTORS’ CHAPTER 11 PLAN

                   CLASS 3B: PRIME TRUST GENERAL UNSECURED CLAIMS

  PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING
BALLOTS CAREFULLY BEFORE COMPLETING THIS BALLOT. FOR YOUR VOTE TO BE
COUNTED, THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS
 TO BE ACTUALLY RECEIVED BY THE CLAIMS AGENT BY NOVEMBER 7, 2023, AT 4:00
  P.M. (PREVAILING EASTERN TIME) (THE “VOTING DEADLINE”) IN ACCORDANCE
                            WITH THIS BALLOT.

         This ballot (the “Ballot”) is transmitted to you to solicit your vote to accept or reject the plan of
reorganization (the “Plan”) as set forth in the Joint Chapter 11 Plan of Reorganization for Prime Core
Technologies Inc. and Its Affiliated Debtors [Docket No. 258] (as amended, supplemented or otherwise
modified from time to time, according to its terms, the “Plan”) filed by the above-captioned debtors and
debtors in possession (the “Debtors”). The Disclosure Statement Pursuant to Section 1125 of the
Bankruptcy Code with Respect to Joint Chapter 11 Plan of Reorganization for Prime Core Technologies
Inc. and Its Affiliated Debtors [Docket No. 259] (as amended, supplemented or otherwise modified from
time to time, according to its terms, the “Disclosure Statement”) contains disclosures summarizing the
Plan and has been approved on a conditional basis by order of the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) [Docket No. 264] (the “Conditional Approval Order”). 2
The Disclosure Statement and the Plan provide information to assist you in deciding how to vote your
Ballot.”).

         If you are a Holder of a Class 3B Claim, this Ballot permits you to cast your vote to accept or
reject the Plan, as well as make the Convenience Class Election.

 THE CHAPTER 11 PLAN CONTAINS THIRD PARTY RELEASES. UNLESS YOU OPT-OUT
   OF THE THIRD-PARTY RELEASES IN ITEM 2 OF THIS BALLOT, YOU AGREE TO
     RELEASE YOUR CLAIMS AGAINST THE RELEASED PARTIES (AS GREATER
                   DESCRIBED BELOW AND IN THE PLAN).



1
          The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436);
and Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas,
Nevada 89135.
2
          Capitalized terms not defined herein are defined in the Disclosure Statement, the Plan or the Conditional
Approval Order, as applicable.
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         The Disclosure Statement, the Plan, and Conditional Approval Order are included in the
Solicitation Package accompanying this Ballot. You may also obtain copies from Bankruptcy
Management Solutions, Inc. d/b/a Stretto (“Stretto” or the “Claims Agent”) free of charge (a) by
accessing the Debtors’ restructuring website at
https://cases.stretto.com/primetrust/; (b) by writing to Prime Core Technologies Inc., et al. Claims
Processing Center, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (c) by email at
PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.” in the subject line;
or (d) by telephone at +1-303-536-6996 (International) or 888) 533-4753 (U.S./Canada Toll-Free); or for
a fee via PACER at http://ecf.deb.uscourts.gov.

         If you have any questions on how to properly complete this Ballot, please contact the Claims
Agent by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.
Solicitation” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888) 533-4753
(U.S./Canada Toll-Free). Please be advised the Claims Agent cannot provide legal advice.

                                             IMPORTANT

You should carefully review the Disclosure Statement and Plan before you submit this Ballot. You
may wish to seek independent legal advice concerning the Disclosure Statement and Plan and the
classification and treatment of your Class 3B Claim under the Plan.

All Prime Trust General Unsecured Claims against Debtor Prime Trust have been placed in Class
3B under the Plan. If you hold Claims in more than one Class under the Plan, you may receive a
Ballot for each such Class and must complete a separate Ballot for each such Class.

For your vote to be counted, this Ballot must be properly completed, signed, and returned so that it
is actually received by the Claims Agent by no later than the Voting Deadline of November 7, 2023,
at 4:00 p.m. (prevailing Eastern Time), unless such time is extended in writing by the Debtors.

If you wish to return a hard copy of your Ballot, you may return it in the enclosed preaddressed,
postage prepaid envelope or submit it by first class mail, overnight courier or hand delivery to:

                      If by First-Class Mail, Hand Delivery or Overnight Mail:
                                  Prime Core Technologies Inc., et al.
                                       Ballot Processing Center
                                              c/o Stretto
                                       410 Exchange, Suite 100
                                           Irvine, CA 92602

If you would like to coordinate hand delivery of your Ballot, please email
PrimeCoreInquiries@stretto.com at least twenty-four (24) hours in advance and provide the
anticipated date and time of your delivery.

If you prefer to vote online, Ballots will be accepted if properly completed through the E- Ballot
portal maintained by the Claims Agent (the “E-Ballot Portal”). To submit your Ballot via the E-
Ballot Portal, visit https://cases.stretto.com/primetrust/. Click on the “Submit E- Ballot” section of
the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to submit your
Ballot via the E-Ballot Portal, you should not also return a hard copy of your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:
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        Unique E-Ballot Password:

The E-Ballot Portal is the sole manner in which Ballots will be accepted via electronic or online
transmission. Ballots submitted by facsimile, email or other means of electronic transmission will not
be counted.

If your Ballot is not received by the Claims Agent on or before the Voting Deadline, and such Voting
Deadline is not extended by the Debtors, your vote will not be counted.

Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed or that you
will receive a distribution under the Plan. The Debtors reserve all rights to dispute such Claim(s).

HOW TO VOTE (AS MORE FULLY SET FORTH IN THE VOTING INSTRUCTIONS):

1. Complete Item 1.
Review the releases set forth in Item 2 and elect whether to opt out of the releases.

If you wish to make the Convenience Class Election, check the box in Item 4. If you make the Convenience
Class Election, you make this election as to the entire amount of your Class 3B Claims. You may not split
your Class 3B Claims.

Review the information, certifications and acknowledgements contained in Items 3 and 5.

SIGN THE BALLOT.

Return the original signed Ballot in the enclosed pre-addressed, postage-paid envelope, or by first- class
mail, hand delivery, overnight courier, or submit your Ballot through the online E-Ballot portal maintained
by the Claims Agent so that it is actually received by the Claims Agent before the Voting Deadline. Ballots
submitted to the Debtors or any of their agents and advisors (other than the Claims Agent) will not be
counted.

You must vote the full amount of the Claim covered by this Ballot either to accept or to reject the Plan. You
may not split your vote. Any executed Ballot that partially accepts and partially rejects the Plan will not be
counted.

If you hold Claims in more than one Class, you must use separate Ballots for each Class of Claims.

Any executed Ballot received that (a) does not indicate either an acceptance or rejection of the Plan or (b)
indicates both an acceptance and a rejection of the Plan will not be counted.

Any Ballot received that is unsigned, illegible, or otherwise incomplete will not be counted.
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VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF CLASS 3B
                              CLAIMS

     1. This Ballot is transmitted to you to solicit your vote to accept or reject the Plan. PLEASE
        READ THE DISCLOSURE STATEMENT AND PLAN CAREFULLY BEFORE
        COMPLETING THIS BALLOT.
     2. The Plan will be accepted by Class 3B if it is accepted by the Holders of Claims of two-
        thirds in amount and more than one-half in number of Claims in Class 3B that actually vote
        on the Plan. If the Plan is confirmed by the Bankruptcy Court, all Holders (including those
        Holders who abstain from voting or vote to reject the Plan, and those Holders who are not
        entitled to vote on the Plan) will be bound by the confirmed Plan and the transactions
        contemplated thereby.
     3. Complete, sign, and return this Ballot to the Claims Agent so that it is actually received by
        the Claims Agent before November 7, 2023, at 4:00 p.m. (prevailing Eastern Time), the
        Voting Deadline, unless such time is extended in writing by the Debtor.
     4. The Claims Agent’s “E-Ballot Portal” is the sole manner in which Ballots will be accepted
        via electronic or online transmission. Ballots submitted by telecopy, facsimile, email, or other
        electronic means of transmission will not be counted. If voting online, to have your vote
        counted, you must electronically complete, sign, and submit the electronic Ballot by utilizing
        the E-Ballot Portal on the Claims Agent’s website. Your Ballot must be received by the
        Claims Agent no later than the Voting Deadline, unless such time is extended by the Debtors.
        Please visit https://cases.stretto.com/primetrust/. Click on the “Submit E-Ballot” section of
        the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to
        submit your Ballot via the Claims Agent’s E-Ballot system (the “E-Ballot Portal”), you
        should not also return a hard copy of your Ballot.
     5. To properly complete this Ballot, you must follow the procedures described below:
         a.       if you hold a Claim in Class 3B, cast one vote to accept or reject the Plan by
                  checking the appropriate box in Item 1;

          b.       if you are completing this Ballot on behalf of another person or entity, indicate your
                   relationship with such person or entity and the capacity in which you are signing and
                   submit satisfactory evidence of your authority to so act (e.g., a power of attorney or
                   a certified copy of board resolutions authorizing you to so act);

          c.       if you also hold other Claims, you may receive more than one Ballot, labeled for a
                   different Class of Claims and you should separately complete and submit a Ballot
                   for each Class of Claims in which you hold Claims. Your vote will be counted in
                   determining acceptance or rejection of the Plan by each particular Class of Claims
                   only if you complete, sign, and return the Ballot labeled for that Class of Claims in
                   accordance with the instructions on such Ballot;

          d.       provide your name and mailing address on your Ballot;

          e.       sign and date your Ballot, and provide the remaining information requested; and

          f.       return your Ballot using the methods described above.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE AN ELECTRONIC COPY
OF THE DISCLOSURE STATEMENT AND THE PLAN, OR NEED PHYSICAL COPIES OF THE
BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE CLAIMS AGENT
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BY WRITING TO PRIME CORE TECHNOLOGIES INC. BALLOT PROCESSING CENTER,
C/O STRETTO, 410 EXCHANGE, SUITE 100, IRVINE, CA 92602; BY EMAIL AT
PRIMECOREINQUIRIES@STRETTO.COM WITH A REFERENCE TO “PRIME CORE
TECHNOLOGIES INC. SOLICITATION” IN THE SUBJECT LINE; OR BY TELEPHONE AT
+1-303-536-6996 (INTERNATIONAL) OR (888) 533-4753 (U.S./CANADA TOLL-FREE) AND
REQUESTING TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM.

      PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                     PLEASE READ THE VOTING INFORMATION AND
                INSTRUCTIONS ABOVE BEFORE COMPLETING THIS BALLOT.

Item 1. Class Vote. The undersigned, the Holder of a Class 3B Claim against the Debtors hereby votes,
in the amount set forth below, as follows (check one box):

                Accept the Plan

                                OR

                Reject the Plan.

                                Voting Amount of Claim: 3 $

                                Debtor: Prime Trust, LLC

Item 2. Important Information Regarding Releases.

AS A HOLDER OF A CLAIM IN CLASS 3B UNDER THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASES BY HOLDERS OF CLAIMS AND INTERESTS CONTAINED IN
ARTICLE 10.5 OF THE PLAN, WHICH IS ALSO SET FORTH BELOW, UNLESS YOU
CHECK THE OPT OUT BOX DIRECTLY BELOW, OR FILE AN OBJECTION TO THE
RELEASE PROVISIONS OF THE PLAN WITH THE BANKRUPTCY COURT BY NOVEMBER
7, 2023.

The undersigned holder of the Prime Trust General Unsecured Claim in Class 3B set forth in Item 1 elects
to:

                          Opt Out of the Releases by Holders of Claims and Interests.

Your recovery under the Plan remains the same regardless of whether you elect to opt out of giving the
Releases by Holders of Claims and Interests in the Plan.

The following are the Releases by Holders of Claims and Interests set forth in Article 10.5 of the
Plan.

Releases by Holders of Claims and Interests: Except as otherwise expressly set forth in the Plan or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party 4 is, and is deemed
to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever, released by each
Releasing Party 5 from any and all Causes of Action, other than any 98f Wallet Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
arising, contingent or non-contingent, in law, equity, contract, tort, or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Person would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, any of the Debtors (including the capital structure, management,

3
          For voting purposes only, subject to tabulation rules.
4
          The list of parties that constitute “Released Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
5
          The list of parties that constitute “Releasing Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
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ownership, or operation thereof), any security of any of the Debtors, any of the Reorganized
Debtors, or the Wind-Down Debtor, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the assertion or enforcement of rights and remedies
against any of the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance
Actions held by any of the Debtor(s) or their Estates, intercompany transactions between or among
an Debtor and another Debtor, the formulation, preparation, dissemination, negotiation, or Filing
of the Chapter 11 Cases, the Bid Procedures Order, Disclosure Statement, the Plan (including, for
the avoidance of doubt, the Plan Supplement), any Definitive Document, any Plan Document, any
Reorganization Transaction Document, any Sale Transaction Document, any Liquidation
Transaction Document, any Reorganization Transactions, dollarization of Cryptocurrency, any
Reorganization Transactions contemplated by the Plan, any contract, instrument, release, or other
agreement or document created or entered into, whether before or during the Chapter 11 Cases, in
connection with the Filing of the Debtors’ Chapter 11 Cases, the Bid Procedures Order, the
Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan Supplement), any
Reorganization Transactions, any Definitive Document, any Plan Document, any Reorganization
Transaction Document, any Sale Transaction Document, any Liquidation Transaction Document,
any Reorganization Transactions, dollarization of Cryptocurrency, the solicitation of votes with
respect to the Plan, the pursuit of Confirmation of the Plan, the pursuit of Consummation of the
Plan, and the administration implementation of the Plan. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article 10.5 shall not be construed as (i)
releasing any Released Party from Claims or Causes of Action arising from an act or omission that
is judicially determined by a Final Order to have constituted actual fraud, willful misconduct, or
gross negligence; (ii) releasing any post-Effective Date obligations of or under (A) any party or
Entity under the Plan, (B) any Executory Contract or Unexpired Lease to the extent such
Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a Final
Order, or (C) any document, instrument, or agreement executed to implement the Plan; (iii)
releasing any rights to distributions required to be paid or delivered pursuant to the Plan or the
Confirmation Order; (v) releasing or discharging any properly-pled direct claim (other than claims
against the Debtors) held by a creditor that is not a Releasing Party. For the avoidance of doubt, to
the extent that any creditor had a direct claim against a non-Debtor under applicable non-
bankruptcy law (other than a fraudulent transfer claim) prior to the Petition Date, such claim did
not vest in the Debtors on the Petition Date and remains property of such creditor.

Item 3. Certification as to Class 3B Claims held in Additional Accounts. The undersigned hereby
certifies that either (i) it has not submitted any other Ballots for other Class 3B Claims held in other
accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held in other
accounts or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

Item 4. Voluntary Election for Convenience Class Claim Treatment (Optional). You may elect to
have your Class 3B Claim treated as a Class 4 Convenience Claim by making a Convenience Class
Election. If you accept the Convenience Class Election, then you will be deemed to have waived your
Class 3B Claims and instead your Claims shall be converted to a Class 4 Convenience Claim in the
amount of $[●].

The undersigned, a Holder of a Class 3B Claim as set forth in Item 1:
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 ACCEPTS the Convenience Class Election and the conversion of all its Class 3B Claims into a Class 4
Convenience Claim in the amount of $[●].



Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
that: (a) it has been provided with a copy of the Disclosure Statement and Plan, including all exhibits
thereto; (b) the Debtors’ solicitation of votes is subject to all terms and conditions set forth in the
Disclosure Statement and Plan, the Conditional Approval Order, and the procedures for the solicitation
and tabulation of votes to accept or reject the Plan contained in the Conditional Approval Order; (c) it is
the holder of the Claim identified in Item 1 above as of October 6, 2023; and/or (d) it has full power and
authority to vote to accept or reject the Plan and exercise elections with respect thereto. The undersigned
understands that, if this Ballot is validly executed but does not indicate either acceptance or rejection of
the Plan, this Ballot will not be counted.


                                                                         Name of Creditor



                                                                             Signature



                                                             If by Authorized Agent, Name and Title



                                                                             Address



                                                                        Telephone Number



                                                                          Email Address



                                                                         Date Completed

                 PLEASE PROMPTLY RETURN YOUR COMPLETED BALLOT.

   BALLOTS MAY BE SUBMITTED VIA THE E-BALLOT PORTAL, OR IN THE RETURN
           ENVELOPE PROVIDED, OR AS DIRECTED BY THIS BALLOT.

    TO COUNT, A BALLOT WITH YOUR VOTE MUST BE RECEIVED BY THE VOTING
      DEADLINE: NOVEMBER 7, 2023, AT 4:00 P.M. (PREVAILING EASTERN TIME).
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This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim or
Interest, or the allowance of a Claim or Interest.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO
MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN THE
MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS AUTHORIZED BY
THE BANKRUPTCY COURT.
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                    Exhibit B
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 Prime Core Technologies Inc., et al., 1                   Case No. 23-11161 (JKS)

                                     Debtors.              (Jointly Administered)


            BALLOT TO ACCEPT OR REJECT THE DEBTORS’ CHAPTER 11 PLAN

                                   CLASS 4: CONVENIENCE CLAIMS

  PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR COMPLETING
BALLOTS CAREFULLY BEFORE COMPLETING THIS BALLOT. FOR YOUR VOTE TO BE
COUNTED, THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS
 TO BE ACTUALLY RECEIVED BY THE CLAIMS AGENT BY NOVEMBER 7, 2023, AT 4:00
  P.M. (PREVAILING EASTERN TIME) (THE “VOTING DEADLINE”) IN ACCORDANCE
                            WITH THIS BALLOT.

         This ballot (the “Ballot”) is transmitted to you to solicit your vote to accept or reject the plan of
reorganization (the “Plan”) as set forth in the Joint Chapter 11 Plan of Reorganization for Prime Core
Technologies Inc. and Its Affiliated Debtors [Docket No. 258] (as amended, supplemented or otherwise
modified from time to time, according to its terms, the “Plan”) filed by the above-captioned debtors and
debtors in possession (the “Debtors”). The Disclosure Statement Pursuant to Section 1125 of the
Bankruptcy Code with Respect to Joint Chapter 11 Plan of Reorganization for Prime Core Technologies
Inc. and Its Affiliated Debtors [Docket No. 259] (as amended, supplemented or otherwise modified from
time to time, according to its terms, the “Disclosure Statement”) contains disclosures summarizing the
Plan and has been approved on a conditional basis by order of the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) [Docket No. 264] (the “Conditional Approval Order”). 2
The Disclosure Statement and the Plan provide information to assist you in deciding how to vote your
Ballot.

 THE CHAPTER 11 PLAN CONTAINS THIRD PARTY RELEASES. UNLESS YOU OPT-OUT
   OF THE THIRD-PARTY RELEASES IN ITEM 2 OF THIS BALLOT, YOU AGREE TO
     RELEASE YOUR CLAIMS AGAINST THE RELEASED PARTIES (AS GREATER
                   DESCRIBED BELOW AND IN THE PLAN).

         The Disclosure Statement, the Plan, and Conditional Approval Order are included in the
Solicitation Package accompanying this Ballot. You may also obtain copies from Bankruptcy
Management Solutions, Inc. d/b/a Stretto (“Stretto” or the “Claims Agent”) free of charge (a) by
accessing the Debtors’ restructuring website at https://cases.stretto.com/primetrust/; (b) by writing to

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          The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436);
and Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas,
Nevada 89135.
2
          Capitalized terms not defined herein are defined in the Disclosure Statement, the Plan or the Conditional
Approval Order, as applicable.
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Prime Core Technologies Inc., et al. Claims Processing Center, c/o Stretto, 410 Exchange, Suite 100,
Irvine, CA 92602; (c) by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core
Technologies Inc.” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888)
533-4753 (U.S./Canada Toll-Free); or for a fee via PACER at http://ecf.deb.uscourts.gov.

         If you have any questions on how to properly complete this Ballot, please contact the Claims
Agent by email at PrimeCoreInquiries@stretto.com with a reference to “Prime Core Technologies Inc.
Solicitation” in the subject line; or (d) by telephone at +1-303-536-6996 (International) or (888) 533-4753
(U.S./Canada Toll-Free). Please be advised the Claims Agent cannot provide legal advice.

                                             IMPORTANT

You should carefully review the Disclosure Statement and Plan before you submit this Ballot. You
may wish to seek independent legal advice concerning the Disclosure Statement and Plan and the
classification and treatment of your Class 4 Claim under the Plan.

All Convenience Claims against Debtor Prime Trust have been placed in Class 4 under the Plan. If
you hold Claims in more than one Class under the Plan, you may receive a Ballot for each such Class
and must complete a separate Ballot for each such Class.

For your vote to be counted, this Ballot must be properly completed, signed, and returned so that it
is actually received by the Claims Agent by no later than the Voting Deadline of November 7, 2023,
at 4:00 p.m. (prevailing Eastern Time), unless such time is extended in writing by the Debtors.

If you wish to return a hard copy of your Ballot, you may return it in the enclosed preaddressed,
postage prepaid envelope or submit it by first class mail, overnight courier or hand delivery to:

                      If by First-Class Mail, Hand Delivery or Overnight Mail:
                                  Prime Core Technologies Inc., et al.
                                       Ballot Processing Center
                                              c/o Stretto
                                       410 Exchange, Suite 100
                                           Irvine, CA 92602

If you would like to coordinate hand delivery of your Ballot, please email
PrimeCoreInquiries@stretto.com at least twenty-four (24) hours in advance and provide the
anticipated date and time of your delivery.

If you prefer to vote online, Ballots will be accepted if properly completed through the E- Ballot
portal maintained by the Claims Agent (the “E-Ballot Portal”). To submit your Ballot via the E-
Ballot Portal, visit https://cases.stretto.com/primetrust/. Click on the “Submit E- Ballot” section of
the Debtors’ website and follow the directions to submit your E-Ballot. If you choose to submit your
Ballot via the E-Ballot Portal, you should not also return a hard copy of your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:

        Unique E-Ballot Password:

The Claims Agent’s E-Ballot portal is the sole manner in which Ballots will be accepted via electronic
or online transmission. Ballots submitted by facsimile, email or other means of electronic
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transmission will not be counted.

If your Ballot is not received by the Claims Agent on or before the Voting Deadline, and such Voting
Deadline is not extended by the Debtors, your vote will not be counted.

Your receipt of this Ballot does not signify that your Claim(s) has been or will be allowed or that you
will receive a distribution under the Plan. The Debtors reserve all rights to dispute such Claim(s).


HOW TO VOTE (AS MORE FULLY SET FORTH IN THE VOTING INSTRUCTIONS):

1. Complete Item 1.

Review the releases set forth in Item 2 and elect whether to opt out of the releases.

If you wish to make opt out of the Class 4 Convenience Claims, check the box in Item 4. If you opt out,
you make this election as to the entire amount of your Class 4 Claims. You may not split your Class 4
Claims

Review the information, certifications and acknowledgements contained in Items 3 and 5.

SIGN THE BALLOT.

Return the original signed Ballot in the enclosed pre-addressed, postage-paid envelope, or by first- class
mail, hand delivery, overnight courier, or submit your Ballot through the online E-Ballot portal maintained
by the Claims Agent so that it is actually received by the Claims Agent before the Voting Deadline. Ballots
submitted to the Debtors or any of their agents and advisors (other than the Claims Agent) will not be
counted.

You must vote the full amount of the Claim covered by this Ballot either to accept or to reject the Plan. You
may not split your vote. Any executed Ballot that partially accepts and partially rejects the Plan will not be
counted.

If you hold Claims in more than one Class, you must use separate Ballots for each Class of Claims.

Any executed Ballot received that (a) does not indicate either an acceptance or rejection of the Plan or (b)
indicates both an acceptance and a rejection of the Plan will not be counted.

Any Ballot received that is unsigned, illegible, or otherwise incomplete will not be counted.
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VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF CLASS 4
                              CLAIMS

 1. This Ballot is transmitted to you to solicit your vote to accept or reject the Plan. PLEASE READ
    THE DISCLOSURE STATEMENT AND PLAN CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

 The Plan will be accepted by Class 4 if it is accepted by the Holders of Claims of two- thirds in
    amount and more than one-half in number of Claims in Class 4 that actually vote on the Plan. If
    the Plan is confirmed by the Bankruptcy Court, all Holders (including those Holders who abstain
    from voting or vote to reject the Plan, and those Holders who are not entitled to vote on the Plan)
    will be bound by the confirmed Plan and the transactions contemplated thereby.

 Complete, sign, and return this Ballot to the Claims Agent so that it is actually received by the Claims
    Agent before November 7, 2023, at 4:00 p.m. (prevailing Eastern Time), the Voting Deadline,
    unless such time is extended in writing by the Debtor.

 The Claims Agent’s “E-Ballot Portal” is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by telecopy, facsimile, email, or other
    electronic means of transmission will not be counted. If voting online, to have your vote counted,
    you must electronically complete, sign, and submit the electronic Ballot by utilizing the E-Ballot
    Portal on the Claims Agent’s website. Your Ballot must be received by the Claims Agent no later
    than the Voting Deadline, unless such time is extended by the Debtors. Please visit
    https://cases.stretto.com/primetrust/. Click on the “Submit E-Ballot” section of the Debtors’
    website and follow the directions to submit your E-Ballot. If you choose to submit your Ballot via
    the Claims Agent’s E-Ballot system (the “E-Ballot Portal”), you should not also return a hard
    copy of your Ballot.

 To properly complete this Ballot, you must follow the procedures described below:

     a.      if you hold a Claim in Class 4, cast one vote to accept or reject the Plan by checking the
             appropriate box in Item 1;

     b.      if you are completing this Ballot on behalf of another person or entity, indicate your
             relationship with such person or entity and the capacity in which you are signing and
             submit satisfactory evidence of your authority to so act (e.g., a power of attorney or a
             certified copy of board resolutions authorizing you to so act);

     c.      if you also hold other Claims, you may receive more than one Ballot, labeled for a
             different Class of Claims and you should separately complete and submit a Ballot for
             each Class of Claims in which you hold Claims. Your vote will be counted in
             determining acceptance or rejection of the Plan by each particular Class of Claims only if
             you complete, sign, and return the Ballot labeled for that Class of Claims in accordance
             with the instructions on such Ballot;

     d.      provide your name and mailing address on your Ballot;

     e.      sign and date your Ballot, and provide the remaining information requested; and

     f.      return your Ballot using the methods described above.
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YOU MAY OPT OUT OF CLASS 4 AT ANY TIME PRIOR TO THE VOTING DEADLINE AND
VOTE TO ACCEPT OR REJECT THE PLAN IN CLASS 3A, 3B, 3C, OR 3D, AS APPLICABLE.
SUBSEQUENT BALLOTS YOU SUBMIT WILL SUPERSEDE PRIOR BALLOTS YOU MAY
HAVE SUBMITTED, AND THE LAST IN TIME BALLOT YOU SUBMIT WILL BE INCLUDED
IN THE TABULATION OF VOTES TO ACCEPT OR REJECT THE PLAN.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE A
RETURN ENVELOPE WITH YOUR BALLOT, DID NOT RECEIVE AN ELECTRONIC COPY
OF THE DISCLOSURE STATEMENT AND THE PLAN, OR NEED PHYSICAL COPIES OF
THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE CLAIMS
AGENT BY WRITING TO PRIME CORE TECHNOLOGIES INC. BALLOT PROCESSING
CENTER, C/O STRETTO, 410 EXCHANGE, SUITE 100, IRVINE, CA 92602; BY EMAIL AT
PRIMECOREINQUIRIES@STRETTO.COM WITH A REFERENCE TO “PRIME CORE
TECHNOLOGIES INC. SOLICITATION” IN THE SUBJECT LINE; OR BY TELEPHONE AT
+1-303-536-6996 (INTERNATIONAL) OR (888) 533-4753 (U.S./CANADA TOLL-FREE) AND
REQUESTING TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM.

      PLEASE DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.
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                     PLEASE READ THE VOTING INFORMATION AND
                INSTRUCTIONS ABOVE BEFORE COMPLETING THIS BALLOT.

Item 1. Class Vote. The undersigned, the Holder of a Class 4 Claim against the Debtors hereby votes, in
the amount set forth below, as follows (check one box):

                Accept the Plan

                                OR

                Reject the Plan.

                                Voting Amount of Claim: 3 $

                                Debtor:

Item 2. Important Information Regarding Releases.

AS A HOLDER OF A CLAIM IN CLASS 4 UNDER THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASES BY HOLDERS OF CLAIMS AND INTERESTS CONTAINED IN
ARTICLE 10.5 OF THE PLAN, WHICH IS ALSO SET FORTH BELOW, UNLESS YOU
CHECK THE OPT OUT BOX DIRECTLY BELOW, OR FILE AN OBJECTION TO THE
RELEASE PROVISIONS OF THE PLAN WITH THE BANKRUPTCY COURT BY NOVEMBER
7, 2023.

The undersigned holder of the Convenience Claim in Class 4 set forth in Item 1 elects to:

                          Opt Out of the Releases by Holders of Claims and Interests.


Your recovery under the Plan remains the same regardless of whether you elect to opt out of giving the
Releases by Holders of Claims and Interests in the Plan.

The following are the Releases by Holders of Claims and Interests set forth in Article 10.5 of the
Plan.

Releases by Holders of Claims and Interests: Except as otherwise expressly set forth in the Plan or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party 4 is, and is deemed to
be, hereby conclusively, absolutely, unconditionally, irrevocably and forever, released by each
Releasing Party 5 from any and all Causes of Action, other than any 98f Wallet Causes of Action,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
arising, contingent or non-contingent, in law, equity, contract, tort, or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Person would have been legally entitled
to assert (whether individually or collectively), based on or relating to, or in any manner arising from,
in whole or in part, any of the Debtors (including the capital structure, management, ownership, or

3         For voting purposes only, subject to tabulation rules.
4
          The list of parties that constitute “Released Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
5
          The list of parties that constitute “Releasing Parties” can be found at
https://cases.stretto.com/chjpbwv0cnvzda-1696380673/content/2458-release-and-exculpation-plan-provisions/.
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operation thereof), any security of any of the Debtors, any of the Reorganized Debtors, or the Wind-
Down Debtor, the subject matter of, or the transactions or events giving rise to, any Claim or Interest
that is treated in the Plan, the business or contractual arrangements between any Debtor and any
Released Party, the assertion or enforcement of rights and remedies against any of the Debtors, the
Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions held by any of the Debtor(s)
or their Estates, intercompany transactions between or among an Debtor and another Debtor, the
formulation, preparation, dissemination, negotiation, or Filing of the Chapter 11 Cases, the Bid
Procedures Order, Disclosure Statement, the Plan (including, for the avoidance of doubt, the Plan
Supplement), any Definitive Document, any Plan Document, any Reorganization Transaction
Document, any Sale Transaction Document, any Liquidation Transaction Document, any
Reorganization Transactions, dollarization of Cryptocurrency, any Reorganization Transactions
contemplated by the Plan, any contract, instrument, release, or other agreement or document created
or entered into, whether before or during the Chapter 11 Cases, in connection with the Filing of the
Debtors’ Chapter 11 Cases, the Bid Procedures Order, the Disclosure Statement, the Plan (including,
for the avoidance of doubt, the Plan Supplement), any Reorganization Transactions, any Definitive
Document, any Plan Document, any Reorganization Transaction Document, any Sale Transaction
Document, any Liquidation Transaction Document, any Reorganization Transactions, dollarization
of Cryptocurrency, the solicitation of votes with respect to the Plan, the pursuit of Confirmation of
the Plan, the pursuit of Consummation of the Plan, and the administration implementation of the
Plan. Notwithstanding anything to the contrary in the foregoing, the releases set forth in this
Article 10.5 shall not be construed as (i) releasing any Released Party from Claims or Causes of
Action arising from an act or omission that is judicially determined by a Final Order to have
constituted actual fraud, willful misconduct, or gross negligence; (ii) releasing any post-Effective Date
obligations of or under (A) any party or Entity under the Plan, (B) any Executory Contract or
Unexpired Lease to the extent such Executory Contract or Unexpired Lease has been assumed by the
Debtors pursuant to a Final Order, or (C) any document, instrument, or agreement executed to
implement the Plan; (iii) releasing any rights to distributions required to be paid or delivered
pursuant to the Plan or the Confirmation Order; (v) releasing or discharging any properly-pled
direct claim (other than claims against the Debtors) held by a creditor that is not a Releasing Party.
For the avoidance of doubt, to the extent that any creditor had a direct claim against a non-Debtor
under applicable non-bankruptcy law (other than a fraudulent transfer claim) prior to the Petition
Date, such claim did not vest in the Debtors on the Petition Date and remains property of such
creditor.

Item 3. Certification as to Class 4 Claims held in Additional Accounts. The undersigned hereby
certifies that either (i) it has not submitted any other Ballots for other Class 4 Claims held in other
accounts or other record names, or (ii) if it has submitted Ballots for other such Claims held in other
accounts or other record names, then such Ballots indicate the same vote to accept or reject the Plan.

Item 4. Voluntary Election to Opt-Out of Class 4 Convenience Class. You may elect to have your
Class 4 Convenience Claim treated as a Class 3B Claim by making opting out of Class 4. By checking the
box below, you will be deemed to have waived your Class 4 Convenience Claim and instead your Claims
shall be converted to a Class 3B Prime Trust General Unsecured Claim.

The undersigned, a Holder of a Class 4 Claim as set forth in Item 1:

 OPTS OUT of its Class 4 Convenience Claim and such claim is converted to a Class 3B Prime Trust
General Claim.

Item 5. Acknowledgements and Certification. By signing this Ballot, the undersigned acknowledges
that: (a) it has been provided with a copy of the Disclosure Statement and Plan, including all exhibits
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thereto; (b) the Debtors’ solicitation of votes is subject to all terms and conditions set forth in the
Disclosure Statement and Plan, the Conditional Approval Order, and the procedures for the solicitation
and tabulation of votes to accept or reject the Plan contained in the Conditional Approval Order; (c) it is
the holder of the Claim identified in Item 1 above as of October 6, 2023; and/or (d) it has full power and
authority to vote to accept or reject the Plan and exercise elections with respect thereto. The undersigned
understands that, if this Ballot is validly executed but does not indicate either acceptance or rejection of
the Plan, this Ballot will not be counted.


                                                                         Name of Creditor



                                                                             Signature



                                                             If by Authorized Agent, Name and Title



                                                                             Address



                                                                        Telephone Number



                                                                          Email Address



                                                                         Date Completed


                 PLEASE PROMPTLY RETURN YOUR COMPLETED BALLOT.

   BALLOTS MAY BE SUBMITTED VIA THE E-BALLOT PORTAL, OR IN THE RETURN
           ENVELOPE PROVIDED, OR AS DIRECTED BY THIS BALLOT.

    TO COUNT, A BALLOT WITH YOUR VOTE MUST BE RECEIVED BY THE VOTING
      DEADLINE: NOVEMBER 7, 2023, AT 4:00 P.M. (PREVAILING EASTERN TIME).

This Ballot shall not constitute or be deemed a proof of Claim or Interest, an assertion of a Claim or
Interest, or the allowance of a Claim or Interest.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO
MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN THE
MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS AUTHORIZED BY
THE BANKRUPTCY COURT.
